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                                                RICT COURT
                             UNITED STATES DIST
                                                   RSEY
                                DISTRICT OF NEW JE
                                                                                           EA)
                                                         :       Mag. No. 13-2550(10) (D
                    ERICA
UNiTED STATES OF AM
               V.
                                                                                          R
                                                             :   CONTINUANCE ORDE
                   aI.
MENDEL EPSTEIN, et
                                                                                        nal complaint
                            UCHAT having                     been arrested on a crimi
        Defendant SHOLOM SH
                                                                                                 d States
                                           ac y  to  kid na p,  in vio lation of Title 18, Unite
                         with cons    pir
charging the defendant
                                                                                         Court for an initial
                             d the   de  fen da  nt  ha ving appeared before the
                       ; an
Code, Section 1201(c)
                                                                                                     that an
                                      ;  an d  the   de fen  da nt an d his counsel being aware
                          10, 2013
appearance on October
                                                                                          of defendant’s
                             ord ina ril y  mu  st  be  file d within thirty (30) days
                         nt
 Information or Indictme
                                                                                 ates Code, Section
                    on thi s ch arg  e,   pu rsu  ant to Title 18, United St
 initial appearance
                                                                                           (7)(A), both the
                                  le 18,   Un  ite d  St ate  s Code, Section 3161(h)
                          to Tit
  3161(b); and, pursuant
                                                                               that the parties can
                     the de  fen da  nt   req ue  st this continuance so
  United States and
                                                                                          good cause
                                  an d   the reb  y  av oid   a possible trial; and for
                              nt
  negotiate a plea agreeme

  shown;
                           t’1Lj              iUce,nb<i
                                        day of Qe+er, 2013,
           IT IS on this iq
                                                                                                   uary 17,
                                            te  thi s   Or de r is en ter ed, to and including Jan
                                        da
         ORDERED that from the
                                                                                         ation or Indictment
                                ca  lcu lat ing   the   tim e   within which an Inform
                          d in
   2014, shall be exclude
                                                                                   ns:
                      r the Sp  ee  dy   Tri al  Ac  t for the following reaso
   must be filed unde
                                                                                          discuss the
                               ite d  St ate  s  an d   the  defendant desire time to
          1,     Both the Un
                                                                                                       edings
                                                  ns  , wh  ich  wo  uld  ren der any grand jury proce
                            plea negotia      tio
    evidence and possible
                                                                 ssary;
                           l of this matter unnece
    and any subsequent tria
  Case 3:13-mj-02550-DEA           Document 89        Filed 11/13/13         Page 2 of 2 PageID: 176




                                                                                   ), the ends of
                                       ited States Code  , Section 3161(h)(7)(A
       2.     Pursuant to Title 18, Un
                                                                                             d the
                                                       h the best   interest of the public an
       e ser ve d by gra nting the continuance outweig
jus tic
                          L
defendant in a speedy tria



 SEEN AND AGREED:

                     )                       /




  Alan S. Futerfas
  Attorney for


                                                          HON. DOUc(AS        ARPERT
                                                                                te Judge
                                                          United Stat s Magi tra
